           Case 2:20-cv-03326-AB Document 107-1 Filed 06/15/23 Page 1 of 5




                            UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF PENNSYLVANIA

In re WIRECARD AG SECURITIES             )   Civ. Action No. 2:20-cv-03326-AB
LITIGATION                               )
                                         )   CLASS ACTION
                                         )
This Document Relates To:                )   DECLARATION OF SHAWN A. WILLIAMS
                                         )   IN SUPPORT OF STATUS UPDATE #89
         ALL ACTIONS.                    )   (WIRECARD AG BANKRUPTCY STAY)
                                         )




4891-0856-2794.v1
           Case 2:20-cv-03326-AB Document 107-1 Filed 06/15/23 Page 2 of 5




         I, SHAWN A. WILLIAMS, declare as follows:

         1.         I am an attorney duly licensed to practice before all of the courts of the States of

New York and California, and am admitted pro hac vice before this Court. I am a member of the

law firm Robbins Geller Rudman & Dowd LLP, one of Lead Counsel in the above-entitled action.

This Declaration is made in support of Status Update #89 (Wirecard AG Bankruptcy Stay). I have

personal knowledge of the matters stated herein and, if called upon, I could and would competently

testify thereto.

         2.         Attached is a true and correct copy of the following exhibit:

         Exhibit A:        Docket for In re Wirecard AG, No. 21-10936 (Bankr. E.D. Pa.).

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 15th day of June, 2023.

                                                                     s/ Shawn A. Williams
                                                                    SHAWN A. WILLIAMS




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4891-0856-2794.v1
           Case 2:20-cv-03326-AB Document 107-1 Filed 06/15/23 Page 3 of 5




                                   CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on June 15, 2023, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and

I hereby certify that I caused the mailing of the foregoing via the United States Postal Service to

the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ Lawrence F. Stengel
                                                    LAWRENCE F. STENGEL

                                                    SAXTON & STUMP
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4891-0856-2794.v1
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                                                Document         107-1
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                                                                      Court Eastern 06/15/23        Page 4 of 5
                                                                                           of Pennsylvania

Mailing Information for a Case 2:20-cv-03326-AB IN RE: WIRECARD AG SECURITIES
LITIGATION
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6/15/23, 8:02 AM         Case 2:20-cv-03326-AB United
                                                Document         107-1
                                                      States District        FiledDistrict
                                                                      Court Eastern 06/15/23        Page 5 of 5
                                                                                           of Pennsylvania
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use
your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.

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